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AO 245B-CAED (Rev. 3/04) Sheet 1 - Judgment in a Criminal Case


                                   United States District Court
                                           Eastern District of California

          UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                     v.                                                  (For Offenses Committed On or After November 1, 1987)
             ERNEST J. RUDOLPH                                           Case Number: 2:05CR00529-01


                                                                         James Greiner
                                                                         Defendant’s Attorney

THE DEFENDANT:
[U]      pleaded guilty to count(s): 1, 2 & 3 of the Indictm ent .
[]       pleaded nolo contendere to counts(s)         which was accepted by the court.
[]       was found guilty on count(s)      after a plea of not guilty.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):
                                                                                            Date Offense           Count
Title & Section                     Nature of Offense                                       Concluded              Num ber(s)
18 USC 471                          Manufacture of Counterfeit Obligations or               9/9/05                 1
                                    Securities
18 USC 472                          Passing and Possessing Counterfeit                      8/5/05                 2
                                    Obligations
18 USC 472                          Passing and Possessing Counterfeit                      8/24/05                3
                                    Obligations
       The defendant is sentenced as provided in pages 2 through 18 of this judgm ent. The sentence is im posed
pursuant to the Sentencing Reform Act of 1984.

[]       The defendant has been found not guilty on counts(s)             and is discharged as to such count(s).

[]       Count(s)      (is)(are) dism issed on the m otion of the United States.

[]       Indictm ent is to be dism issed by District Court on m otion of the United States.

[U]      Appeal rights given.                          []        Appeal rights waived.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of nam e, residence, or m ailing address until all fines, restitution, costs, and special assessm ents
im posed by this judgm ent are fully paid. If ordered to pay restitution, the defendant m ust notify the court and United States
attorney of m aterial changes in econom ic circum stances.

                                                                 4/6/07
                                                                 Date of Im position of Judgm ent




                                                                 Signature of Judicial Officer



                                                                 GARLAND E. BURRELL, JR., United States District Judge
                                                                 Nam e & Title of Judicial Officer

                                                                 April 26, 2007
                                                                 Date
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AO 245B-CAED (Rev. 3/04) Sheet 2 - Imprisonment
CASE NUMBER:               2:05CR00529-01                                                                Judgment - Page 2 of 18
DEFENDANT:                 ERNEST J. RUDOLPH


                                                        IMPRISONMENT
         The defendant is hereby com m itted to the custody of the United States Bureau of Prisons to be im prisoned for a
total term of 46 m onths .

A term of 46 m onths on each of Counts 1, 2 & 3, to be served concurrently, for a total term of 46 m onths.




[U]      The court m akes the following recom m endations to the Bureau of Prisons:
         The Court recom m ends that the defendant be incarcerated in a California facility, but only insofar as this accords
         with security classification and space availability. The Court recom m ends the defendant participate in the 500-
         Hour Bureau of Prisons Substance Abuse Treatm ent Program .


[U]      The defendant is rem anded to the custody of the United States Marshal.


[]       The defendant shall surrender to the United States Marshal for this district.
         [ ] at     on     .
         [ ] as notified by the United States Marshal.


[]       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         [ ] before on        .
         [ ] as notified by the United States Marshal.
         [ ] as notified by the Probation or Pretrial Services Officer.
         If no such institution has been designated, to the United States Marshal for this district.


                                                               RETURN
I have executed this judgment as follows:




         Defendant delivered on                                     to

at                                          , with a certified copy of this judgment.




                                                                                             UNITED STATES MARSHAL



                                                                                        By
                                                                                                  Deputy U.S. Marshal
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AO 245B-CAED (Rev. 3/04) Sheet 3 - Supervised Release
CASE NUMBER:                 2:05CR00529-01                                                                             Judgment - Page 3 of 18
DEFENDANT:                   ERNEST J. RUDOLPH


                                                  SUPERVISED RELEASE
         Upon release from imprisonment, the defendant shall be on supervised release for a term of 36 months .
A term of 36 months on each of Counts 1, 2 & 3, to be served concurrently, for a total term of 36 months.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
tests thereafter, not to exceed four (4) drug tests per month.

[]        The above drug testing condition is suspended based on the court's determination that the defendant poses a low risk of
          future substance abuse. (Check, if applicable.)

[U]       The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)

[x ]      The defendant shall submit to the collection of DNA as directed by the probation officer. (Check, if applicable.)

[]        The defendant shall register and comply with the requirements in the federal and state sex offender registration agency in the
          jurisdiction of conviction, Eastern District of California, and in the state and in any jurisdiction where the defendant resides, is
          employed, or is a student. (Check, if applicable.)

[]        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or a restitution obligation, it is a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                 STANDARD CONDITIONS OF SUPERVISION
1)     the defendant shall not leave the judicial district without permission of the court or probation officer;
2)     the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days
       of each month;
3)     the defendant shall answer truthfully all inquiries by the probation officer and follow instructions of the probation officer;
4)     the defendant shall support his or her dependants and meet other family responsibilities;
5)     the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training or other
       acceptable reasons;
6)     the defendant shall notify the probation officer ten days prior to any change in residence or employment;
7)     the defendant shall refrain from excessive use of alcohol;
8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)     the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted
       of a felony unless granted permission to do so by the probation officer;
10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere, and shall permit confiscation of
       any contraband observed in plain view by the probation officer;
11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
       officer;
12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
       the permission of the court;
13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
       criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
       confirm the defendant's compliance with such notification requirement.
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AO 245B-CAED (Rev. 3/04) Sheet 3 - Supervised Release
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DEFENDANT:                 ERNEST J. RUDOLPH


                                 SPECIAL CONDITIONS OF SUPERVISION
         1.   The defendant shall submit to the search of his person, property, home, and vehicle by a United
              States Probation Officer, or any other authorized person under the immediate and personal
              supervision of the probation officer, based upon reasonable suspicion, without a search warrant.
              Failure to submit to a search may be grounds for revocation. The defendant shall warn any other
              residents that the premises may be subject to searches pursuant to this condition.

         2.   The defendant shall not dispose of or otherwise dissipate any of his assets until the fine and/or
              restitution order by this judgment is paid in full, unless the defendant obtains approval of the
              court.

         3.   The defendant shall provide the probation officer with access to any requested financial
              information.

         4.   The defendant shall not incur new credit charges or open additional lines of credit without the
              approval of the probation officer.

         5.   As directed by the probation officer, the defendant shall participate in a correctional treatment
              program (inpatient or outpatient) to obtain assistance for drug or alcohol abuse.

         6.   As directed by the probation officer, the defendant shall participate in a program of testing (i.e.
              breath, urine, sweat patch, etc.) to determine if he has reverted to the use of drugs or alcohol.

         7.   As directed by the probation officer, the defendant shall participate in a program of mental
              health treatment (inpatient or outpatient.)

         8.   As directed by the probation officer, the defendant shall participate in a co-payment plan for
              treatment or testing and shall make payment directly to the vendor under contract with the
              United States Probation Office of up to $25 per month.

         9.   The defendant shall (I) consent to the probation officer and /or probation service representative
              conducting periodic unannounced examinations of any computer equipment or device that has
              an internal or external modem which may include retrieval and copying of all data from the
              computer or device and any internal or external peripherals to ensure compliance with
              conditions and/or removal of such equipment for purposes of conducting a more thorough
              inspection; and (ii) consent at the direction of the probation officer to having installed on the
              computer or device, at defendant’s expense, any hardware or software systems to monitor the
              computer or device’s use.

         10. The defendant shall not participate in gambling activities of any kind or enter any establishment
             where gambling occurs.
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AO 245B-CAED (Rev. 3/04) Sheet 5 - Criminal Monetary Penalties
CASE NUMBER:                  2:05CR00529-01                                                                              Judgment - Page 5 of 18
DEFENDANT:                    ERNEST J. RUDOLPH


                                          CRIMINAL MONETARY PENALTIES
      The defendant m ust pay the total crim inal m onetary penalties under the Schedule of Paym ents on Sheet 6.

                                                    Assessm ent                          Fine                     Restitution
       Totals:                                         $ 300                              $                       $ 45,900.


[]     The determ ination of restitution is deferred until        . An Amended Judgment in a Criminal Case (AO 245C) will be entered
       after such determ ination.

[U] The defendant m ust m ake restitution (including com m unity restitution) to the following payees in the am ount listed below.

       If the defendant m akes a partial paym ent, each payee shall receive an approxim ately proportioned paym ent, unless
       specified otherwise in the priority order or percentage paym ent colum n below. However, pursuant to 18 U.S.C. § 3664(i),
       all nonfederal victim s m ust be paid before the United States is paid.




Name of Payee                                       Total Loss*                   Restitution Ordered      Priority or Percentage
See attached list

       TOTALS:                                       $ 45,900                          $ 45,900




[]     Restitution am ount ordered pursuant to plea agreem ent $

[]     The defendant m ust pay interest on restitution and a fine of m ore than $2,500, unless the restitution or fine is paid in full
       before the fifteenth day after the date of the judgm ent, pursuant to 18 U.S.C. § 3612(f). All of the paym ent options on Sheet
       6 m ay be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

[ ]        The court determ ined that the defendant does not have the ability to pay interest and it is ordered that:

       [ ] The interest requirem ent is waived for the                 [ ] fine          [ ] restitution

       [ ] The interest requirem ent for the                [ ] fine   [ ] restitution is m odified as follows:




  ** Findings for the total am ount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses
com m itted on or after Septem ber 13, 1994, but before April 23, 1996.
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AO 245B-CAED (Rev. 3/04) Sheet 6 - Schedule of Payments
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DEFENDANT:                   ERNEST J. RUDOLPH

                                                 SCHEDULE OF PAYMENTS


     Paym ent of the total fine and other crim inal m onetary penalties shall be due as follows:

A    [ ] Lum p sum paym ent of $            due im m ediately, balance due

           []      not later than  , or
           []      in accordance with            [ ] C,   [ ] D,   [ ] E, or    [ ] F below; or

B    [U]           Paym ent to begin im m ediately (m ay be com bined with      [ ] C,   [ ] D, or [ ] F below); or

C    [ ] Paym ent in equal    (e.g., weekly, m onthly, quarterly) installm ents of $  over a period of       (e.g., m onths or years),
         to com m ence     (e.g., 30 or 60 days) after the date of this judgm ent; or

D    [ ] Paym ent in equal    (e.g., weekly, m onthly, quarterly) installm ents of $ over a period of   (e.g., m onths or years),
         to com m ence     (e.g., 30 or 60 days) after release from im prisonm ent to a term of supervision; or

E    [ ] Paym ent during the term of supervised release will com m ence within          (e.g., 30 or 60 days) after release from
         im prisonm ent. The court will set the paym ent plan based on an assessm ent of the defendant’s ability to pay at that tim e;
         or

F    [ ] Special instructions regarding the paym ent of crim inal m onetary penalties:




Unless the court has expressly ordered otherwise, if this judgm ent im poses im prisonm ent, paym ent of crim inal m onetary
penalties is due during im prisonm ent. All crim inal m onetary penalties, except those paym ents m ade through the Federal Bureau
of Prisons' Inm ate Financial Responsibility Program , are m ade to the clerk of the court.

The defendant shall receive credit for all paym ents previously m ade toward any crim inal m onetary penalties im posed.

[]   Joint and Several

Defendant and Co-Defendant Nam es and Case Num bers (including defendant num ber), Total Am ount, Joint and Several
Am ount, and corresponding payee, if appropriate:




[]   The defendant shall pay the cost of prosecution.

[]   The defendant shall pay the following court cost(s):

[]   The defendant shall forfeit the defendant’s interest in the following property to the United States:
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                                             VICTIM IMPACT LIST - RESTITUTION


Case Name: Ernest J. Rudolph                                             Docket Number: 2:05CR00529-01

USPO: Terence E. Sherbondy                                                      JUDGE: Garland E. Burrell, Jr.

AUSA: Anne E. Pings                                                 DEFENSE COUNSEL: James R. Greiner



                                 VICTIM NAME                                      LOSS AMOUNT
 122 Tower Energy                                                                                           $200
 USA Petroelum                                                                                                100
 Unknown                                                                                                      100
 99 Cent Store 168                                                                                            100
 99 Cent Store 209                                                                                            200
 AJ Wright                                                                                                    700
 Aarons Sales and Lease                                                                                       100
 ACE Hardware                                                                                                 100
 Alfredo Gutierrez                                                                                            100
 Aspeitia
 Alhambra Enterprises                                                                                         100
 Allied Waste Industries                                                                                      100
 American Payments                                                                                            100
 AMF Bowling                                                                                                  100
 Anderson Brothers                                                                                            100
 Anna's Linens                                                                                                200
 Antonio Barajas                                                                                              100
 Arcade Market                                                                                                100
 ATM Department in House                                                                                      100
 Auto Zone                                                                                                    200
 Auto Zone 5305                                                                                               700
 Auto Zone 288                                                                                                100
 Auto Zone 8135                                                                                               700
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 Auto Zone 2829                                                                                   400
 Auto Zone 3675                                                                                   400
 Auto Zone 5661                                                                                   200
 Auto Zone 1990                                                                                   300
 B. Grabar                                                                                        100
 B of A                                                                                           100
 B of A                                                                                           100
 Bel Air                                                                                          100
 Bennie Harriel                                                                                   100
 Big 5                                                                                            100
 Big Lots 4072                                                                                    100
 Big Lots 4080                                                                                    100
 Big Lots 41150                                                                                   100
 Big Lots 4158                                                                                    100
 Black Oak Casino                                                                                 100
 BOA Freeport                                                                                     100
 BOA Fruitridge Manor                                                                             100
 BOA Power Inn Gerber                                                                             100
 Bob's Quality Tire                                                                               100
 BOW/BR                                                                                           100
 BOW - Ross Stores                                                                                200
 BOW - Ross Stores                                                                                100
 BP Products                                                                                      100
 BP Products                                                                                      100
 BP Products                                                                                      200
 Burger King                                                                                      100
 Burlington Coat Factory                                                                          100
 California Business Machines                                                                     100
 Carls Jr.                                                                                        100
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AO 245B-CAED (Rev. 3/04) Sheet 6 - Schedule of Payments
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 Carlos Villasenor                                                                                100
 Casey's Cards                                                                                    100
 Cinemark                                                                                         100
 Chand Shah                                                                                       100
 Chevron Gas 1578                                                                                 100
 Chevron Gas 1727                                                                                 100
 Chevron Gas 1754                                                                                 200
 Chevron Gas 1758                                                                                 100
 Chuck E Cheese                                                                                   100
 Church of Latter Day Saints                                                                      200
 Circle K                                                                                         300
 City Market                                                                                      200
 City Wide Hotgos                                                                                 100
 Claires Store 6294                                                                               100
 Clarie's Boutique                                                                                100
 Colusa Casino                                                                                    200
 Copelands 023                                                                                    100
 CSAA                                                                                             100
 David Graca                                                                                      100
 DD's Discount Store 500                                                                          400
 Del Taco 4337                                                                                    100
 Del Taco 25521                                                                                   100
 Dennys                                                                                           200
 DG Smith Enterprises                                                                             100
 DMV 710                                                                                          100
 DMV 7226                                                                                         100
 Dollar Tree 2425                                                                                 100
 Dollar Tree 1202                                                                                 200
 Dollar Tree 1215                                                                                 100
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 Dollar Tree 1223                                                                                100
 Electronics Boutique                                                                            200
 Eulalio Sandoval                                                                                100
 Factory 2 U 6525                                                                                800
 Factory 2 U 6100                                                                                300
 Fairfield Expos Base                                                                            100
 Famous Footwear                                                                                 100
 Fast Stop Food                                                                                  100
 FHS Mustang Booster                                                                             100
 Food Max                                                                                        200
 Food Services Management                                                                        100
 Foot Locker                                                                                     200
 Foot Locker                                                                                     200
 Foothill Market                                                                                 100
 Foxmoor                                                                                         100
 Fruitridge AM/PM                                                                                400
 Fry's Electronics                                                                               300
 Gamestop                                                                                        100
 GAP Outlet 7718                                                                                 100
 Goodwill Industries                                                                             100
 Goodyear                                                                                        100
 Greyhound 8940                                                                                  100
 Hard Rock Café 1157                                                                             400
 Hat World                                                                                       100
 Herminia De Guzman                                                                              100
 HH Gas/Food                                                                                     100
 Home Depot 100301                                                                               100
 Home Depot 65101                                                                                500
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 Home Depot 662001                                                                               500
 Home Depot 664903                                                                               100
 Home Depot 63701                                                                                100
 Home Depot 100301                                                                               100
 Home Depot 6620                                                                                 100
 Home Depot 667401                                                                               100
 Hometown Buffet 242                                                                             200
 Jack in the Box 4326                                                                            200
 Jack in the Box                                                                                 100
 James Maurica Keys                                                                              100
 Jay's Chevron                                                                                   100
 JC Pennys                                                                                       100
 Jet Spray Carwash                                                                               100
 JMJ Seekers, Inc.                                                                               100
 Joann's 2033                                                                                    100
 John Schneider                                                                                  100
 Johnnie Lau                                                                                     100
 Johnny Rockets #1                                                                               100
 Jose Salvador                                                                                   100
 K Yung J Yi                                                                                     100
 Kaiser                                                                                          100
 Kasmir Phandey                                                                                  100
 KFC                                                                                             100
 KFC 105                                                                                         100
 KFC 126                                                                                         100
 Kragen 232                                                                                      100
 Kragen 324                                                                                      100
 Kulwant Dharni                                                                                  100
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 La Esperanza Bakery                                                                             100
 Lil Joe                                                                                         100
 Lockeford TruValue                                                                              100
 Long Chang Market                                                                               100
 Long John Silvers                                                                               100
 Longs Drug Store                                                                                500
 Los Rios Community College Bookstore                                                            200
 Lowe's HIW                                                                                      100
 Lowes Home Ctr                                                                                  100
 M&B Discount Liquor                                                                             100
 Manor Drug                                                                                      200
 Mario Nunez Garcia                                                                              100
 Marshalls                                                                                       100
 Marshalls of MA Inc 79                                                                          400
 Attn: Jason Leal
 Loss Prevention
 McDonalds                                                                                       100
 CA3-125-01-01
 McDonalds                                                                                       200
 McDonalds                                                                                       100
 Metro PCS                                                                                       100
 Metro PCS                                                                                       100
 Michael Stores 09851                                                                            300
 Milino Patel                                                                                    100
 Monetary Management 1909                                                                        100
 Monetary Management 3382                                                                        500
 Morton Gulf                                                                                     100
 Motel 6                                                                                         200
 Mountain Mikes Pizza                                                                            100
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 N/A                                                                                             100
 N/A                                                                                             100
 Nella Oil 28                                                                                    100
 New West Petroleum 1013                                                                         100
 No Limit Wireless                                                                               100
 Oakland Raiders 931                                                                             100
 Office Max                                                                                      100
 Office Max                                                                                      200
 Old Navy 5626                                                                                   100
 Olive Garden                                                                                    100
 OSH                                                                                             100
 Pacific Coast Supply                                                                            100
 Panaderia Lupita                                                                                100
 Payless Shoe Source                                                                             100
 Pep Boys 5895                                                                                   300
 Pep Boys                                                                                        300
 Pet Smart 0053                                                                                  200
 Phanonmvanit Soukouang                                                                          100
 Pick N Pull                                                                                     100
 Pick N Pull 10                                                                                  100
 PRB Management                                                                                  100
 Quality Pizza                                                                                   100
 Quick Stop                                                                                      100
 Mngr Manso Boulett
 Quick Stop                                                                                      100
 Radio Shack                                                                                     100
 Rainbow USA                                                                                     100
 dba UPS N Down
 Raley's                                                                                         200
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 Raley's                                                                                         100
 Reading Inter Tower Thea                                                                        100
 Red Lobster 671                                                                                 100
 R-Kiz Inc.                                                                                      100
 Robert Wolfe                                                                                    100
 Rohenco                                                                                         100
 Roldolfo Azcona                                                                                 100
 Roseville PCS                                                                                   100
 Ross Stores 0025                                                                                500
 Safeway                                                                                         300
 Safeway                                                                                         100
 Safeway                                                                                         100
 Safeway 1617                                                                                    400
 Salley Beauty Supply                                                                            100
 Sams Club 6622                                                                                  100
 Save Mart 72                                                                                    300
 SCV 1504                                                                                        300
 Bank of America                                                                                 100
 SCV 1504
 #138
 Bank of America                                                                                 100
 SCV 1504
 #142
 Bank of America                                                                                 200
 SCV 1504
 #53
 Bank of America                                                                                 200
 SCV 1504
 #59
 Bank of America                                                                                 100
 SCV 1504
 #61
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 Bank of America                                                                                 200
 SCV 1504
 #85
 Bank of America                                                                                 100
 SCV 1504
 #86
 Bank of America                                                                                 100
 SCV 1504
 #88
 Bank of America                                                                                 100
 SCV 1504
 #89
 Bank of America                                                                                 200
 SCV 1504
 #97
 Bank of America                                                                                 100
 SCV 1504
 #98
 Sears Roebuck                                                                                   200
 Sears Roebuck 1408                                                                              500
 Sees Candies, Inc.                                                                              100
 Sent In by WFB                                                                                  100
 Servo                                                                                           200
 Sidhu's Chevron                                                                                 100
 Sleep Train Amphitheater                                                                        200
 Southwest Airlines                                                                              100
 Speed Bird Gasoline                                                                             100
 Starbucks 5940                                                                                  100
 Suhail Anwar                                                                                    200
 (MAACO)
 Suncoast Group                                                                                  100
 Sunrise Valero                                                                                  100
 Supply Hardware                                                                                 100
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 Susie's Deals                                                                                   200
 Target 1527                                                                                     500
 Target 1862                                                                                     100
 Target Stores                                                                                   600
 Target Stores                                                                                   100
 Target Stores                                                                                   300
 The Body Shop                                                                                   100
 The Gold Club Inc                                                                               100
 Thrifty Payless                                                                                 100
 Thunder Valley Casino                                                                        4,300
 Toni Greer                                                                                      100
 Tooley Oil Co                                                                                   200
 Tower Mart 122                                                                                  200
 Toys R Us                                                                                       100
 Tuesday Morning                                                                                 100
 Umpqua                                                                                          100
 United Grocers Cash                                                                             100
 United Retail Inc                                                                               200
 Vallejo Smoke Shop                                                                              100
 Vern Saelee                                                                                     100
 Walgreens                                                                                       300
 Walgreens                                                                                       100
 Walgreens                                                                                       100
 Walgreens                                                                                       200
 Wal-Mart                                                                                        400
 Wal-Mart 1760                                                                                   100
 WAMU/Arco AM/PM                                                                                 100
 Warehouse Concepts                                                                              500
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AO 245B-CAED (Rev. 3/04) Sheet 6 - Schedule of Payments
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DEFENDANT:                   ERNEST J. RUDOLPH


 Warehouse Concepts                                                                              100
 Welco Supermarket                                                                               200
 Wells Fargo Bank                                                                                100
 Wells Fargo Bank                                                                                200
 Wells Fargo Bank                                                                                200
 Wells Fargo Bank                                                                                200
 Wells Fargo Bank                                                                                100
 Wells Fargo Bank                                                                                100
 Wells Fargo Bank                                                                                200
 Wells Fargo Bank                                                                                100
 West Coast Beauty                                                                               100
 WF                                                                                              100
 WF Branch 362                                                                                   100
 WF Fair Oaks 042                                                                                100
 WF South Natomas                                                                                100
 WF Vintage Faire                                                                                100
 WFB Camelia City                                                                                100
 WFB Fruitridge                                                                                  100
 WFB Laguna Gateway                                                                              200
 WFB North Florin                                                                                400
 Winco 36                                                                                        100
 Winco 37                                                                                        300
 Unknown                                                                                         100
 Unknown                                                                                         100
 Unknown                                                                                         100
 Unknown                                                                                         100
 Unknown                                                                                         100
 Unknown                                                                                         100
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 Unknown                                                                                         100
 Unknown                                                                                         100
 Unknown                                                                                         100
 Unknown                                                                                         100
 Unknown                                                                                         100
 Total Loss Amount                                                                           49200
